              Case: 4:18-mj-01567-JMB Doc. #: 1 Filed: 12/13/18 Page: 1 of 1 PageID #: 1
.   ·'
§\O 91 (Rd}. ll/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the                                              fRLED
                                               EASTERN DISTRICT OF MISSOURI                                       DEC 1$.2018
                                                                                                                  U.S. DISTRICT COURT
                   United States of America                           )                                        EASTERN DISTRICT OF MO
                                v.                                    )                                                 ST. LOUIS
                                                                      )       Case No. 4:18 MJ 1567 JMB
                                                                      )
                   DWYANE UPCHURCH                                    )
                                                                      )
                                                                      )
                           Defendant(s)


                                                   CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my kllowledge and belief.
On or about the date(s) of                     December 1, 2018              in the county of               St. Louis               in the
         Eastern       District of             Missouri
                                         ~~~~~~~~-
                                                                  , the defendant(s) violated:

              Code Section                                                      Offense Description

             18 u.s.c. 922(g)(l)                                              Felon in Possession of a Firearm




            This criminal complaint is based on these facts:
                                                       SEE ATTACHED AFFIDAVIT




            !if Continued on the attached sheet.

                                                                                                 Complainant's signature 5
                                                                               Inspector Michael Maxey, U.S. Postal Inspection Service
                                                                                                 lf'rinted name and title

Sworn to before me and signed in my prysence.


Date:
                                                                                                    Judge's signature

City and state:                          St. Louis, Missouri                     norable John M. Bodenhausen, U.S: Magistrate Judge
                                                                                                  Printed name and title
